Case 1:07-cr-00014-IMK-JSK Document 74 Filed 04/26/07 Page 1 of 4 PageID #: 178



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                   CRIMINAL NO. 1:07CR14
                                                (Judge Keeley)

WILLIAM C. LYNCH, a/k/a
“PJ”,

                  Defendant.


           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
             RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
            BE ACCEPTED AND SCHEDULING SENTENCING HEARING

      On April 11, 2007, defendant, William C. Lynch, appeared

before United States Magistrate Judge John S. Kaull and moved this

Court for permission to enter a plea of GUILTY to Count Two of the

Indictment. The defendant stated that he understood that the

magistrate    judge   is    not   a   United   States   District   Judge,     and

consented to pleading before the magistrate judge.             This Court had

referred the guilty plea to the magistrate judge for the purposes

of   administering    the    allocution    pursuant     to   Federal   Rule    of

Criminal Procedure 11, making a finding as to whether the plea was

knowingly and voluntarily entered, and recommending to this Court

whether the plea should be accepted.

      Based upon the defendant's statements during the plea hearing

and the testimony of Detective Raymond Fluharty, the magistrate

judge found that the defendant was competent to enter a plea, that

the plea was freely and voluntarily given, that the defendant was

aware of the nature of the charges against him and the consequences

of his plea, and that a factual basis existed for the tendered
Case 1:07-cr-00014-IMK-JSK Document 74 Filed 04/26/07 Page 2 of 4 PageID #: 179



USA v. WILLIAM C. LYNCH                                                1:07CR14

                    ORDER ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING

plea.      On April 12, 2007, the magistrate judge entered an order

finding a factual basis for the plea and recommended that this

Court accept the plea of guilty to Count Two of the Indictment.

      The magistrate judge also directed the parties to file any

written objections to the report and recommendation within ten (10)

days after service of the report and recommendation. The magistrate

judge further directed that failure to file objections would result

in a waiver of the right to appeal from a judgment of this Court

based on the report and recommendation.

      The parties did not file any objections.               Accordingly, this

Court finds that the magistrate judge's recommendation should be

AFFIRMED and ACCEPTS the plea of guilty to Count Two of the

Indictment.

      The Court ADJUGES the defendant GUILTY of the crime charged in

Count Two.     Pursuant to Fed. R. Crim. P. 11(c)(3)(A) and U.S.S.G.

§   6B1.1(c),      acceptance    of    the    proposed   plea   agreement   and

stipulated addendum to the plea agreement, is DEFERRED until the

Court has received and reviewed the presentence report prepared in

this matter.

      Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:

      1.     The     Probation        Officer    undertake      a   presentence

investigation of WILLIAM C. LYNCH and prepare a presentence report

for the Court;

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Case 1:07-cr-00014-IMK-JSK Document 74 Filed 04/26/07 Page 3 of 4 PageID #: 180



USA v. WILLIAM C. LYNCH                                                       1:07CR14

                   ORDER ADOPTING MAGISTRATE JUDGE'S
             RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
            BE ACCEPTED AND SCHEDULING SENTENCING HEARING

      2.     The Government and the defendant are to provide their

versions of the offense to the Probation Officer by May 9, 2007;

      3.     The   presentence       report    is    to   be    disclosed      to   the

defendant, defense counsel, and the United States on or before

June 11, 2007; however, the Probation Officer is directed not to

disclose     the       sentencing     recommendations          made     pursuant    to

Fed. R. Crim. P. 32(b)(6)(A);

      4.     Counsel shall file WRITTEN OBJECTIONS to the presentence

report     and   may    file    a   SENTENCING      MEMORANDUM        that   evaluates

sentencing factors the parties believe to be relevant under 18

U.S.C. § 3553(a) (including the sentencing range under the advisory

Guidelines) and explains any proposed sentence, on or before
June 25, 2007;

      5.     The Probation Officer shall submit to the Court the

presentence report with addendum on or before July 9, 2007; and

      6.     Sentencing is set for July 24, 2007 at 9:30 a.m.

      7.     The   Court       continued   defendant's         unsecured     personal

recognizance bond in order to ensure his appearance before this

Court at such times and places as the Court may direct with the

standard conditions of bond.

      It is so ORDERED.




                                           3
Case 1:07-cr-00014-IMK-JSK Document 74 Filed 04/26/07 Page 4 of 4 PageID #: 181



USA v. WILLIAM C. LYNCH                                             1:07CR14

                   ORDER ADOPTING MAGISTRATE JUDGE'S
             RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
            BE ACCEPTED AND SCHEDULING SENTENCING HEARING

      The Clerk is directed to transmit copies of this Order to

counsel of record, the defendant and all appropriate agencies.

DATED: April 26, 2007


                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




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